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                        Exhibit 6
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发件人: 亚马逊开店服务 <donotreply@amazon.com>
发送时间: 2025年5月17日 15:07
收件人: Kaiher.eu@hotmail.com <Kaiher.eu@hotmail.com>
主题: 由于未经授权使用专利，商品面临停售风险




      尊敬的 Kaiher-US： 您好！

      以下商品因违反我们的政策而存在被停售的风险。您可以在下方找到存在停售风险的
      商品的详细信息。


      我们会在此问题影响您销售商品之前联系您，以便我们可以解决此问题，尽量降低对
      您业务产生的影响。


      为什么会发生这种情况？
      之所以采取此措施，是因为我们收到了权利所有者的举报，称您的商品涉嫌侵犯权利
      所有者的专利。本邮件末尾列出了权利所有者举报涉嫌侵权行为的沟通内容以及存在
      被移除风险的商品。发布侵犯他人知识产权的内容违反了亚马逊知识产权政策。


      您的商品是否被错误认定为存在停售风险？
      如果您认为存在错误，请通过“账户状况”页面完成以下操作，以防这些商品被停售。
      您需要在受影响商品旁边的“已采取的操作”列中所列的日期之前解决此问题。

          1. 联系提交了通知的权利所有者，要求他们提交撤销请求。我们仅接受权利所有
             者直接向亚马逊提交的撤销请求。亚马逊不接受通过转发或附件形式发送的撤
             销请求。本电子邮件末尾提供了权利所有者的联系信息。如果权利所有者未撤
             销其投诉，或者您未提供证明信息，我们可能会应权利所有者的要求向其提供
             您的联系信息。
            或
          2. 提供由制造商或权利所有者出具的可证明您的商品合法的发票、授权书或许可
             协议。要通过“账户状况”页面提交文件，请点击受影响商品旁边的“申诉”，然后
             按照提供的说明操作。



      如果未提供要求的信息，会怎么样？
      如果我们未收到要求提供的信息，受影响的商品将会被停售。如果我们再次收到关于
      您商品的投诉，我们可能会停用您的亚马逊卖家账户。删除此 ASIN 的商品信息不足
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 以解决导致此违规行为的原因，也不会从您的“账户状况”页面将其移除。


 我们愿意随时为您提供帮助。
 如有其他问题，请联系销售伙伴支持。


 Amazon Services


 权利所有者详情：
    -- SCAN2CAD INC.
    -- 595507929@qq.com
 权利所有者的通信内容： This is the authorized representative by SCAN2CAD INC.,
 the current assignee of US Design Patent No. D1063856 (hereafter “the D856
 Patent”). We are writing to inform you that the rights holder believes that certain
 products listed on Amazon infringes the D856 Patent, hosting listing(s) for said
 product(s) makes Amazon.com potentially responsible for the infringement. The
 D856 Patent claims the ornamental design of the Connector The accused ASIN
 product is identical to the D856 Patent. From an ordinary observer perspective, the
 patented design and Infringing Product are the same in almost all aspects. This can
 cause serious misunderstandings to consumers, as well as infringement of our
 rights. We strongly ask you to remove this listing, not just the infringing images.
 Please remove this infringing ASIN, thanks!
 ASIN: B0DD32WPRH
 商品名称： Hugener 3 in 1 Starlink Mini Cable 10FT/ 3M, High-Speed USB C/Car
 Charger/DC to DC Replacement Cable for Starlink Mini Power, Waterproof
 Extension Power Cable Accessories
 违规类型： DesignPatent
 投诉编号： 17735329741


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    -- 595507929@qq.com
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 Extension Power Cable Accessories
 违规类型： DesignPatent
 投诉编号： 17735329741



                                     报告此电子邮件的问题


                          如果您有任何问题，请访问: Seller Central

                       要更改您的电子邮件首选项，请访问：通知首选项


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              Amazon.com, 410 Terry Avenue North, Seattle, WA 98109-5210



                               SPC-USAmazon-1688851964933462
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 From: donotreply@amazon.com
 Date: May 17, 2025, 15:07
 To: Kaiher
 Subject: The product is at risk of removal from sale due to unauthorized use of a
 patent.

 Dear Kaiher-US,

 Hello from Amazon!

 The following product(s) are at risk of being removed from sale due to a potential
 violation of our policies. You can find detailed information below regarding the items
 in question.

 We are contacting you before this issue affects your ability to sell the products, so we
 can work together to address the matter and minimize the potential impact on your
 business.

 Why is this happening?
 This action is being taken because we received a report from a rights owner alleging
 that your product infringes on their patent. At the end of this email, you will find the
 rights owner’s communication regarding the alleged infringement, as well as a list of
 the affected products. Listing content that infringes intellectual property rights
 violates Amazon’s Intellectual Property Policy.

 Do you believe your product was incorrectly flagged as at risk of removal?
 If you believe this is a mistake, please take the following steps through your Account
 Health page to prevent the removal of the affected listings. You must resolve the issue
 by the date listed in the “Action Required” column next to the affected product(s):

      1. Contact the rights owner who submitted the notice and request that they
      submit a retraction of their complaint. We only accept retraction requests
      submitted directly to Amazon by the rights owner. Amazon does not accept
      forwarded or attached retractions. The rights owner's contact information is
      provided at the end of this email.
 If the rights owner does not withdraw their complaint, or if you do not submit
 supporting documentation, we may provide your contact information to the rights
 owner upon request.

 OR

      2. Provide valid documentation such as invoices, authorization letters, or license
      agreements issued by the manufacturer or rights owner demonstrating that your
      product is legally sold.
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 To submit documents via your Account Health page, click “Appeal” next to the
 affected ASIN and follow the instructions provided.

 What happens if the requested information is not provided?
 If we do not receive the required information, the affected listings will be removed. If
 we receive additional complaints regarding your products, your Amazon seller
 account may be deactivated.
 Please note that simply deleting the listing for the ASIN is not sufficient to resolve the
 issue or remove the violation from your Account Health page.

 We are here to help.
 If you have any further questions, please contact Selling Partner Support.

 Amazon Services

 Rights Owner Details:
      -- SCAN2CAD INC.
      -- 595507929@qq.com
 Rights Owner’s Communication: This is the authorized representative by
 SCAN2CAD INC., the current assignee of US Design Patent No. D1063856
 (hereafter “the D856 Patent”). We are writing to inform you that the rights holder
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 infringement. The D856 Patent claims the ornamental design of the Connector The
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 perspective, the patented design and Infringing Product are the same in almost all
 aspects. This can cause serious misunderstandings to consumers, as well as
 infringement of our rights. We strongly ask you to remove this listing, not just the
 infringing images. Please remove this infringing ASIN, thanks!

 ASIN: B0DD32WPRH

 Product Name: Hugener 3 in 1 Starlink Mini Cable 10FT/ 3M, High-Speed USB
 C/Car Charger/DC to DC Replacement Cable for Starlink Mini Power, Waterproof
 Extension Power Cable Accessories

 Violation Type: DesignPatent

 Complaint ID: 17735329741

 Rights Owner Details:
 -- SCAN2CAD INC.
 -- 595507929@qq.com
 Rights Owner’s Communication: This is the authorized representative by
Case: 1:25-cv-05846 Document #: 12-8 Filed: 06/04/25 Page 7 of 7 PageID #:296




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 Violation Type: DesignPatent

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